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                         UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                 Alexandria Division


 XYZ CORPORATION,

                        Plaintiff,


 v.                                                         Civil Action No. 23-673


 THE UNINCORPORATED ASSOCIATIONS
 IDENTIFIED IN SCHEDULE A,

                        Defendants.



                                     VERIFIED COMPLAINT

       Plaintiff                       (“Plaintiff” or       ), by counsel, alleges as follows for its

Verified Complaint against the Defendant Unincorporated Associations identified in Schedule A

(collectively “Defendants”).1


                                     NATURE OF THE SUIT


       1.      This is a civil action for trademark infringement, trademark counterfeiting, and

false designation of origin under the Lanham Act, 15 U.S.C. §§ 1114, 1125(a), and patent

infringement arising under the patent laws of the United States, 35 U.S.C. §§ 101, et seq., including

35 U.S.C. § 271.



       1
         As set forth in Plaintiff’s Motion to Seal and for the reasons set forth in its Ex Parte
Motion for Temporary Restraining Order, temporarily sealing the names of the Defendants is
necessary to prevent the Defendants from learning of these proceedings prior to the execution of
the Temporary Restraining Order, and the likelihood that Defendants would transfer all funds out
of U.S.-based accounts upon receiving notice of this action.
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       2.      Plaintiff files this action to combat online counterfeiters who trade upon its world-

renowned reputation by selling unauthorized and unlicensed counterfeit                 devices (the

“Counterfeit           Devices”) using counterfeit versions of Plaintiff’s federally registered

trademarks and infringing Plaintiff’s patents.

       3.      Defendants create hundreds of online product listings and design them to appear as

though they are selling genuine      -manufactured devices, while instead selling Counterfeit

Devices to unknowing consumers. Defendants attempt to avoid liability by concealing their

identities and the full scope and interworking of their counterfeiting operations. Plaintiff is thus

forced to file this action to combat Defendants’ unauthorized use of its registered trademarks and

patents, as well as to protect unknowing consumers from purchasing                              and

inferior Counterfeit        Devices. Plaintiff has been, and continues to be, irreparably damaged

through infringement and tarnishment of its valuable trademarks and patents as a result of

Defendants’ willful actions, and seeks injunctive and monetary relief.

                                  JURISDICTION AND VENUE

       4.      This Court has original subject matter jurisdiction over the claims in this action

pursuant to the provisions of the Lanham Act, 15 U.S.C. § 1051, et seq. and the patent laws of the

United States, 35 U.S.C. § 100, et seq., pursuant to 28 U.S.C. § 1338(a)-(b), 28 U.S.C. § 1331, and

28 U.S.C. § 1121.

       5.      Plaintiff’s claims against Defendants for counterfeiting, trademark infringement,

false designation of origin, and patent infringement are based on Defendants’ misuse of Plaintiff’s

trademarks and patents to market and sell Counterfeit        Devices to consumers in this District,

and the use of instrumentalities in the District to promote and sell Counterfeit           Devices

including through use of online marketplaces, such as eBay, Wish, and AliExpress.




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       6.       Venue is proper in this Court pursuant to 28 U.S.C. § 1391, and this Court may

properly exercise personal jurisdiction over Defendants since each of the Defendants directly

targets business activities toward consumers in the United States, including Virginia and this

District, through at least the Online Marketplace Accounts/Internet Stores identified in Schedule

A attached hereto (collectively, the “Defendant Internet Stores”). Specifically, Defendants are

seeking to do business with this District’s residents by operating one or more commercial

Defendant Internet Stores through which Virginia residents are misled to purchase counterfeit

products that infringe      ’s trademarks and patents. Each of the Defendants has targeted sales to

Virginia residents by operating online stores that offer shipping to the United States, including

Virginia and this District, and accepting payment in U.S. dollars. Plaintiff confirmed that

Defendants ship their Counterfeit       Devices to this District by requesting shipping information

from each of the Defendants’ Internet Stores. Each of the Defendants is committing tortious acts

in Virginia, is engaging in interstate commerce, and has wrongfully caused Plaintiff substantial

injury in the State of Virginia.

                                            PARTIES

The Plaintiff

       7.       Plaintiff is a corporation organized and existing under the laws of the State of

Delaware with a principal place of business at                                                    .

       8.       Plaintiff specializes in the innovation, development, and sale of equipment

                                         in the United States.        and its affiliates developed

proprietary technology that




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     9.    The first such device that




     10.




     11.




     12.




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       13.




       14.                                               that feature this technology with various

trademarks, including the following federally registered trademarks, collectively referred to as the




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         16.    The        trademarks perform an important source-identifying function for         ’s

                                                                                                . The

        Trademarks signify to purchasers that the                                       . The

Trademarks are inherently distinctive and are associated with

that have acquired considerable brand loyalty through           ’s sales and promotion, and direct

word-of-mouth promotion by consumers. In addition,            has expended significant time, money,

and resources in developing, marketing, advertising, promoting, and selling its products and

services under its trademarks, including the          Trademarks, in the United States. The market

reputation and consumer goodwill associated with the          Trademarks are of significant value to

    .

         17.          ’s brand reputation under the        trademarks as a market success is a by-

product of its technological innovations over the past several decades.     continues to implement

these innovations today.        has protected its investment into its innovations and its brand with

the following patents, which are listed on its website



         18.




         19.




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The Defendants

        20.    Defendants are individuals and business entities who, upon information and belief,

reside in China, and elsewhere outside the United States. Defendants conduct business throughout

the United States, including within the State of Virginia and this Judicial District, through the

operation of online marketplaces, such as eBay, Wish, and AliExpress. Each Defendant targets the

United States, including Virginia, and has offered to sell and continues to offer to sell Counterfeit

      Devices to consumers within the United States, including the State of Virginia and this

District.

        21.    On information and belief, Defendants knowingly and willfully manufacture,

import, distribute, offer for sale, and sell counterfeit products using the        Trademarks in the

same transaction, occurrence, or series of transactions or occurrences. Defendants each use similar

or the same pictures and descriptions of the Counterfeit        Devices in their online marketplaces.

        22.    Defendants use various tactics to conceal their identities and the full scope of their

counterfeiting operation making it virtually impossible for Plaintiff to learn Defendants’ true

identities and the exact interworking of their counterfeit network. In the event that Defendants

provide additional credible information regarding their identities, Plaintiff will take appropriate

steps to amend the Complaint.

                          DEFENDANTS’ UNLAWFUL CONDUCT

        23.    Unfortunately, the success of          has resulted in significant counterfeiting of its

        . Consequently, Plaintiff has instituted a worldwide anti-counterfeiting program designed


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to regularly investigate suspicious websites and online marketplace listings identified in proactive

Internet sweeps and reported by consumers. Despite Plaintiff’s enforcement efforts online and on

the ground, Defendants have persisted in creating the Defendant Internet Stores. Internet websites

like the Defendant Internet Stores are estimated to receive tens of millions of visits per year and

generate nearly $500 billion in global online sales annually. 2 According to an intellectual property

rights seizures statistics report issued by Homeland Security, the manufacturer’s suggested retail

price (MSRP) of goods seized by the U.S. government in fiscal year 2021 was over $3.3 billion. 3

Internet websites like the Defendant Internet Stores are also estimated to contribute to tens of

thousands of lost jobs for legitimate businesses and broader economic damages such as lost tax

revenue every year.

       24.     Recently, Plaintiff became aware of Defendants’ online sales of the Counterfeit

     Devices, and strongly suspected such goods were counterfeit. Defendants were selling these

counterfeit goods at substantially lower prices than the genuine        devices. Plaintiff reviewed

offerings from each of the Defendant Internet Stores to determine their authenticity. Copies of the

counterfeit product offerings from the Defendant Internet Stores on eBay, Wish, and AliExpress

are attached as Exhibits 12, 13, and 14 respectively. This review led to the determination that the

products offered by the Defendant Internet Stores were, in fact, Counterfeit               Devices.

Furthermore,



       2
         See Rachel Jones, “The Impact Of Fakes And How To Combat Them” February 8,
2022, https://www.forbes.com/sites/forbesbusinesscouncil/2022/02/08/the-impact-of-fakes-and-
how-to-combat-them/ (last accessed May 3, 2023).
       3
           See Homeland Security, “Intellectual Property Rights Seizure Statistics: Fiscal Year
2021” September 29, 2022, https://www.cbp.gov/document/annual-report/fy-2021-ipr-seizure-
statistics.




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        35.     On information and belief, Defendants actively encourage, promote, distribute,

provide instruction for, and support the use of the Counterfeit                   Devices by their

customers in a manner that directly infringes, either literally or under the doctrine of equivalents,

one or more claims of the          patents under 35 U.S.C. § 271(b), knowing and intending that

Defendants’ customers will commit acts in such a manner as to directly infringe the         patent.

        36.     Defendants design the Defendant Internet Stores so that they appear to unknowing

consumers to be legitimate entities selling genuine            devices. Defendants perpetuate the

illusion of legitimacy by purporting to offer “customer service” and using indicia of authenticity

and security that consumers have come to associate with authorized retailers, including the Visa®,

MasterCard®, and/or PayPal® logos. Plaintiff has not licensed or authorized Defendants to use

any of the       Trademarks, and none of the Defendants are authorized retailers of genuine

devices. For example, the                        product listing contains the following image, in an

effort to legitimize its counterfeit devices:




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       37.     Defendants also deceive unknowing consumers by using the            Trademarks and

confusingly similar marks without authorization within the content of their seller listings in order

to attract consumers searching for genuine        devices. On information and belief, Defendants

show the       Trademarks in product images while using strategic item titles and descriptions that

will trigger their listings when consumers are searching for genuine       devices.

       38.     Further, on information and belief, Defendants have gone to great lengths to

conceal their identities and often use multiple fictitious names, business names, and addresses to

register and operate their network of Defendant Internet Stores. And so far, these actions have been

successful because, despite Plaintiff’s good faith attempts to identify Defendants, Plaintiff is

unable to reliably determine any of the Defendants’ identities. On information and belief,

Defendants regularly create new online marketplace accounts on various platforms using the

identities listed in Schedule A to the Complaint, as well as other unknown fictitious names and

addresses. For example, many of the Defendants operate under non-distinct names like




                                                     within their product listing. Such Defendant

Internet Store registration patterns are one of many common tactics used by the Defendants to

conceal their identities, the full scope and interworking of their counterfeiting operation, and to

avoid being shut down.

       39.     Furthermore, the information Defendants provide to consumers is often inaccurate

and untraceable. For example, as part of Plaintiff’s enforcement efforts, it received correspondence

from a U.S. consumer that purchased a Counterfeit         Device from Defendant                . See




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Exhibit 18. The consumer informed Plaintiff that                         name was               , his email

address was                                his phone number was                        and that the device

was shipped from an address in                     . Plaintiff retained a private investigator to learn the

true identity of               , but the results of the private investigation revealed that the listed email

address and phone number were inactive, and that the                      address was not connected with

a             . The private investigation did not reveal any other identifying information regarding

Defendant                  .

        40.        In addition to operating under multiple fictitious names, Defendants in this case and

defendants in other similar cases against online counterfeiters use a variety of other common tactics

to evade enforcement efforts. For example, counterfeiters like Defendants will often register new

online marketplace accounts under new aliases once they receive notice of a lawsuit.

Counterfeiters also typically ship products in small quantities via international mail to minimize

detection by U.S. Customs and Border Protection.

        41.        E-commerce store operators like Defendants are in constant communication with

each other and regularly participate in QQ.com chat rooms and through websites such as

sellerdefense.cn, kaidianyo.com, and kuajingvs.com regarding tactics for operating multiple

accounts, evading detection, pending litigation, and potential new lawsuits.

        42.        Further, counterfeiters such as Defendants typically operate multiple credit card

merchant accounts, PayPal accounts, and Alipay accounts behind layers of payment gateways so

that they can continue operation in spite of Plaintiff’s enforcement efforts. On information and

belief, Defendants maintain offshore bank accounts and regularly move funds from their accounts

to offshore bank accounts outside the jurisdiction of this Court.




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       43.      Defendants, without any authorization or license from Plaintiff, have knowingly

and willfully used and continue to use the        Trademarks in connection with the advertisement,

distribution, offering for sale, and sale of Counterfeit       Devices that infringe the     Patents

into the United States, and Virginia, over the Internet. The Defendant Internet Stores offer shipping

to the United States, including Virginia.

       44.      Defendants’ use of the           Trademarks in connection with the advertising,

distribution, offering for sale, and sale of Counterfeit       Devices that infringe the    Patents,

including the offering for sale of Counterfeit      Devices in the United States, including Virginia,

is likely to cause and has caused confusion, mistake, and deception by and among consumers and

is irreparably harming Plaintiff.

                                    JOINDER IS APPROPRIATE

       45.      Joinder is appropriate because, on information and belief, Defendants’ sale of

Counterfeit        Devices gives rise to a plausible expectation that discovery will reveal that

Defendants’ actions all arise from the same transaction, occurrence, or series of transactions or

occurrences. Specifically, on information and belief, Defendants are actively participating in a

conspiracy to distribute and sell Counterfeit              Devices. For example, Defendants, on

information and belief, are working together to manufacture, arrange the manufacture of, and/or

sell and otherwise distribute the Counterfeit       Devices.

       46.      As part of Plaintiffs’ enforcement efforts, it has obtained multiple counterfeit

devices that were originally sold from various sellers located in China. At least three of these

devices, were sold by one of the Defendants identified in Schedule A. On information and belief,

all of these devices were manufactured by the same source. Despite the devices originating from

different sellers and differing in appearance, these

              See Exhibit 19 (photographs of various devices obtained by Plaintiff that resemble


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those sold by Defendants                                    ). On information and belief, there is no

business reason for

                        Further, Plaintiff sells its devices with a

                        Many of the devices that Plaintiff obtained display

                                                                         . See Id.

       47.     It is also well recognized that China-based counterfeiters typically work in a

conspiracy to achieve larger market shares and faster production. For example, a Forbes article

explained that “the whole [Chinese counterfeiting] system is cooperative, based on the concept of

gongban, which roughly translates to a public bowl. Meaning, people want to share… [s]o people

are starting to share and that turns out to drive the whole industry to move so fast.” 4

       48.     In this case, Defendants sell the Counterfeit          Devices using the same Internet

platforms, such as eBay, Wish, and AliExpress. The Defendant Internet Stores also describe the

Counterfeit       Devices using similar descriptions and pictures.

           COUNT I - TRADEMARK INFRINGEMENT AND COUNTERFEITING
                               (15 U.S.C. § 1114)

       49.     Plaintiff hereby re-alleges and incorporates by reference the allegations set forth in

paragraphs 1 through 48.

       50.     This is a trademark infringement action against Defendants based on their

unauthorized use in commerce of the           Trademarks in connection with the sale, offering for




       4
         Wade Shepard, “Amazon and Ebay Opened Pandora’s Box Of Chinese Counterfeits
And Now Don’t Know What To Do,” Oct 28, 2017,
https://www.forbes.com/sites/wadeshepard/2017/10/28/amazon-and-ebay-opened-pandoras-box-
of-chinese-counterfeits-and-now-dont-know-what-to-do/#24b855c46a25 (last accessed
November 13, 2019).


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         63.      Defendants, as specified in column 5 of Schedule A, have induced infringement

and continue to induce direct infringement, literally or under the doctrine of equivalents, of at least

claim 1 of the        patent by making, using, offering to sell, selling, or importing the Counterfeit

                 Devices in the United States and by encouraging, promoting, and instructing

customers to use at least these devices in a manner that directly infringes at least claim 1 of the

       patent.

         64.      Defendants have and continue to encourage, promote, and instruct customers to

perform the preamble of claim 1 of the         patent, which recites

                                                    ” The product listing pages for the Counterfeit

                 Devices encourage, promote, or instruct customers to use the devices in a manner

that                                                                      For example, many of the

product listings incorporate the following image, or a similar variation thereof, that promotes the

use of the Counterfeit                Device in a manner that




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of this Complaint and have infringed the            patent willfully and deliberately and with knowledge

that such conduct violates 35 U.S.C. § 271.

        86.       Defendants’ indirect infringement of the           patent has damaged, and continues

to damage,           in an amount yet to be determined, of at least a reasonable royalty and/or lost

profits that        would have made but for Defendants’ infringing acts as provided by 35 U.S.C. §

284.

        87.             will suffer irreparable harm unless Defendants are enjoined from infringing

the ’295 patent.

                                        PRAYER FOR RELIEF

        WHEREFORE, Plaintiff requests entry of judgment against Defendants as follows:

        A.         That Defendants, their affiliates, officers, agents, servants, employees, attorneys,

confederates, and all persons acting for, with, by, through, under, or in active concert with them

be temporarily, preliminarily, and permanently enjoined and restrained from:

               a. using the        Trademarks or any reproductions, counterfeit copies, or colorable

                  imitations thereof, in any manner in connection with the distribution, marketing,

                  advertising, offering for sale, or sale of any product that is not a genuine    device

                  or is not authorized by Plaintiff to be sold in connection with the        Trademarks;

               b. passing off, inducing, or enabling others to sell or pass off any device as a genuine

                        device or any other product produced by Plaintiff, that is not Plaintiff’s or not

                  produced under the authorization, control, or supervision of Plaintiff and approved

                  by Plaintiff for sale under the          Trademarks;

               c. shipping, delivering, holding for sale, distributing, returning, transferring, storing,

                  making, using, offering for sale, selling, and/or importing into the United States for

                  subsequent sale or use any products that infringe upon Plaintiff’s Patents;


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          d. aiding, abetting, contributing to, or otherwise assisting anyone in infringing upon

               Plaintiff’s Patents;

          e. effecting assignments or transfers, forming new entities or associations or utilizing

               any other device for the purpose of circumventing or otherwise avoiding the

               prohibitions;

          f. committing any acts calculated to cause consumers to believe that Defendants’

               Counterfeit            Devices are those sold under the authorization, control or

               supervision of Plaintiff, or are sponsored by, approved by, or otherwise connected

               with Plaintiff;

          g. manufacturing, shipping, delivering, holding for sale, transferring or otherwise

               moving, storing, distributing, returning, or otherwise disposing of, in any manner,

               products or inventory not manufactured by or for Plaintiff, nor authorized by

               Plaintiff to be sold or offered for sale, and which bear any of the     Trademarks,

               or any reproductions, copies, or colorable imitations thereof, or infringe any of the

                    Patents; and

          h.   further infringing the        Trademarks, the      Patents, and damaging Plaintiff’s

               goodwill.

   B. Entry of an Order that, upon Plaintiff’s request, those in privity with Defendants and those

      with notice of the injunction, including, without limitation, any online marketplace

      platforms such as eBay, AliExpress, Wish, Amazon, web hosts, sponsored search engine

      or ad-word providers, credit cards, banks, merchant account providers, third-party

      processors and other payment processing service providers, Internet search engines such

      as Google, Bing, and Yahoo (collectively, the “Third Party Providers”) shall:




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            a. disable and cease providing services being used by Defendants, currently or in the

               future, to engage in the sale of goods using the    Trademarks; and

            b. disable and cease displaying any advertisements used by, or associated with,

               Defendants in connection with the sale of counterfeit and infringing goods using

               the      Trademarks.

   C. That Defendants account for, and pay to Plaintiff, all profits realized by Defendants by

      reason of Defendants’ unlawful acts herein alleged, and that the amount of damages for

      infringement of the        Trademarks be increased by a sum not exceeding three times the

      amount thereof as provided by 15 U.S.C. § 1117.

   D. In the alternative, that Plaintiff be awarded statutory damages for willful trademark

      counterfeiting pursuant to 15 U.S.C. § 1117(c)(2) of $2,000,000 for each and every use of

      the        Trademarks.

   E. That Defendants have infringed one or more of the claims of the         Patents in violation

      of 35 U.S.C. § 271(b)-(c).

   F. That Plaintiff be awarded damages for Defendants’ infringements of the          Patents. 35

      U.S.C. § 284.

   G. That Plaintiff be awarded their reasonable attorneys’ fees and costs.

   H. Award any and all other relief that this Court deems just and proper.




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 Date: May 23, 2023                Respectfully submitted,

                                   /s/ Monica Riva Talley
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                                   Nicholas J. Nowak (pro hac pending)
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                                   Attorneys for Plaintiff




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                                  VERIFICATION OF COMPLAINT


       I declare, under penalty of perjury of the laws of the United States that:

       I am employed by                           and I have read, am familiar with, and have

personal knowledge of the contents of the foregoing Verified Complaint; and that the allegations

thereof are true and correct or, to the extent that matters are not within my personal knowledge,

that the facts stated therein have been assembled by authorized personnel, including counsel, and

that I am informed that the facts stated therein are true and correct.



 Executed on May 19, 2023.                          /s/

                                                    General Counsel




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